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  6
      Attorneys for The Huntington Beach Gables Homeowners Association
  7
  8                             UNITED STATES BANKRUPTCY COURT
  9                CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
 10
 11   In re:                                              Case No. 8:21-bk-11710-ES
 12   JAMIE LYNN GALLIAN,
                                                          Chapter 7
 13
                                                          THE HUNTINGTON BEACH GABLES
 14                   Debtor.                             HOMEOWNERS ASSOCIATION’S
                                                          JOINDER TO HOUSER BROS. CO. dba
 15                                                       RANCHO DEL REY MOBILE HOME
                                                          ESTATES’ RESPONSE TO DEBTOR’S
 16                                                       MOTION FOR RECONSIDERATION
 17
                                                          Hearing Date: August 18, 2022
 18                                                       Time:         10:30 a.m.
                                                          Courtroom: 5A
 19
 20            The Huntington Beach Gables Homeowners Association (“HOA”) hereby files its
 21   Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ (“Houser Bros.”)
 22   Response to Debtor’s Motion for Reconsideration (“Motion”) as Docket No. 170 (“Response”).
 23            In addition to the authorities and argumentation set forth in the Response by Houser
 24   Bros., it should be clear that in all of the several hundred pages of Debtor’s Motion, Debtor
 25   failed to identify or even address why California Corporations Code § 17300 and Schaefers v.
 26   Blizzard Energy, Inc. (In re Schaefers), 623 B.R. 777 (B.A.P. 9th Cir. 2020) are not controlling
 27   and persuasive on the outcome of this matter. Assuming arguendo that Debtor was ever entitled
 28   to a presumption in favor of her homestead exemption claim, which the HOA disputes, it was



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  1   the Debtor herself who rebutted it when she admitted under penalty of perjury that she
  2   “Registered Title with HCD Debtor’s single member LLC, J-Sandcastle Co, LLC.” (Petition,
  3   Docket No. 1, at 12.) An LLC member has no interest in LLC property. Cal. Corp. Code §
  4   17300. Therefore, Debtor had no interest to exempt. In re Schaefers, 623 B.R. at 784.
  5
      Dated: August 4, 2022                               Respectfully submitted,
  6
  7                                                       GOE FORSYTHE & HODGES, LLP

  8
                                                          By: /s/ Robert P. Goe
  9                                                            Robert P. Goe
                                                               Brandon J. Iskander
 10                                                            Attorneys for Huntington Beach Gables
                                                               Homeowners Association
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  1
                                PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612.

      A true and correct copy of the foregoing document entitled (specify): THE HUNTINGTON BEACH
  4   GABLES HOMEOWNERS ASSOCIATION’S JOINDER TO HOUSER BROS. CO. dba RANCHO DEL
      REY MOBILE HOME ESTATES’ RESPONSE TO DEBTOR’S MOTION FOR RECONSIDERATION will
  5   be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-
      2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) August 4, 2022, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
      List to receive NEF transmission at the email addresses stated below:
  9
             Bert Briones bb@redhilllawgroup.com,
 10           helpdesk@redhilllawgroup.com;RedHillLawGroup@jubileebk.net
             Aaron E DE Leest adeleest@DanningGill.com,
 11           danninggill@gmail.com;adeleest@ecf.inforuptcy.com
             Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
 12          Jeffrey I Golden (TR) lwerner@wgllp.com, jig@trustesolutions.net;kadele@wgllp.com
             D Edward Hays ehays@marshackhays.com,
 13           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
              oza@ecf.courtdrive.com
 14          Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
             Eric P Israel eisrael@DanningGill.com, danninggill@gmail.com;eisrael@ecf.inforuptcy.com
 15          Laila Masud lmasud@marshackhays.com,
              lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
 16          Mark A Mellor mail@mellorlawfirm.com, mellormr79158@notify.bestcase.com
             Valerie Smith claims@recoverycorp.com
 17          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

 18   2. SERVED BY UNITED STATES MAIL:
      On (date) August 4, 2022, I served the following persons and/or entities at the last known addresses in this
 19   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
 20   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 21
              Janine Jasso                                      Michael D Poole
 22           PO Box 370161                                     Feldsott & Lee
              El Paso, CA 79937                                 23161 Mill Creek Dr Ste 300
 23                                                             Laguna Hills, CA 92653

 24   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) August 4, 2022, I served the following persons and/or entities by personal delivery, overnight mail
 25   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
 26   mail to, the judge will be completed no later than 24 hours after the document is filed.
 27        The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
           (SUSPENDED DUE TO COVID-19 PROTOCOLS)
 28
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


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  1    August 4, 2022   Susan C. Stein                   /s/Susan C. Stein
       Date              Printed Name                    Signature
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